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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 16-189
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   TOMAS MEZA DE LA CRUZ,               )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Heroin

15 Date of Detention Hearing:     May 2, 2016.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is reportedly a citizen of Mexico.



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01            2.      The United States alleges that his presence in this country is illegal. There is an

02 immigration detainer pending against him.

03            3.      Defendant and his counsel offer no opposition to entry of an order of detention.

04            4.      Upon advice of counsel, defendant declined to be interviewed by Pretrial

05 Services. Therefore, there is limited information available about him.

06            5.      Defendant poses a risk of nonappearance due to the immigration detainer and

07 lack of verified background information. Defendant poses a risk of danger due to past criminal

08 record. There does not appear to be any condition or combination of conditions that will

09 reasonably assure the defendant’s appearance at future Court hearings while addressing the

10 danger to other persons or the community.

11 It is therefore ORDERED:

12         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

13            General for confinement; Defendant shall be afforded reasonable opportunity for

14            private consultation with counsel;

15         2. On order of the United States or on request of an attorney for the Government, the

16            person in charge of the corrections facility in which defendant is confined shall deliver

17            the defendant to a United States Marshal for the purpose of an appearance in connection

18            with a court proceeding; and

19 / / /

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01     3. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 2nd day of May, 2016.

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06                                                      A
                                                        Mary Alice Theiler
07                                                      United States Magistrate Judge

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